Opinion filed August 8, 2024




                                      In The


        Eleventh Court of Appeals
                                   __________

                               No. 11-24-00093-CV
                                   __________

               IN THE MATTER OF J.A.G., A JUVENILE


                    On Appeal from the County Court at Law
                             Ector County, Texas
                         Trial Court Cause No. 6283


                      MEMORANDUM OPINION
      This is an accelerated appeal from an order in which the county court at law,
sitting as a juvenile court, waived its jurisdiction over J.A.G., Appellant, and
transferred the cause to an appropriate district court for criminal proceedings. See
TEX. FAM. CODE ANN. § 54.02 (West 2022), § 56.01(c)(1)(A), (h), (h-1) (West Supp.
2023). In his sole issue on appeal, Appellant asserts that the juvenile court abused
its discretion when it waived its jurisdiction over Appellant and signed its transfer
order because, he contends, the record does not support the juvenile court’s finding
that the juvenile justice system could not adequately protect the welfare of the
community. Specifically, Appellant takes issue with the factor enumerated in
Section 54.02(f)(4) of the Family Code that a juvenile court considers in making its
determination under Section 54.02(a). We affirm.
                     I. Standard of Review and Applicable Law
      Courts that are designated as juvenile courts have original and exclusive
jurisdiction over juvenile proceedings. See FAM. §§ 51.04, 54.02. “But the right of
a juvenile offender to remain outside of the jurisdiction of the criminal district court
is not absolute.” Bell v. State, 649 S.W.3d 867, 885 (Tex. App.—Houston [1st Dist.]
2022, pet. ref’d). “A juvenile court may waive its exclusive original jurisdiction and
transfer a juvenile case to the appropriate district court for criminal proceedings if
certain statutory and constitutional requirements are met.” Ex parte Thomas, 623
S.W.3d 370, 372 (Tex. Crim. App. 2021). A juvenile court’s transfer of a juvenile
offender from its court to an appropriate district court or a criminal district court for
prosecution as an adult “should be regarded as the exception, not the rule; the
operative principle is that, whenever feasible, children and adolescents below a
certain age should be ‘protected and rehabilitated rather than subjected to the
harshness of the criminal system.’” Id. at 376 (quoting Hidalgo v. State, 983 S.W.2d
746, 754 (Tex. Crim. App. 1999)).
      If a child was fourteen years of age or older at the time he is alleged to have
committed a felony offense, a juvenile court may transfer the case filed against the
child to an appropriate district court or a criminal district court for trial, even if the
offender remains a child, by age, at the time of transfer. FAM. § 54.02(a); see
Thomas, 623 S.W.3d at 377. Pursuant to Section 54.02(a), the juvenile court may
waive its exclusive original jurisdiction and transfer a juvenile case to the
appropriate district court or criminal district court for criminal proceedings if:
      (1) the child is alleged to have violated a penal law of the grade of
      felony;
                                               2
      (2) the child was:

             (A) 14 years of age or older at the time he is alleged to have
                 committed the offense, if the offense is . . . a felony of the
                 first degree, and no adjudication hearing has been conducted
                 concerning that offense; or
             (B) 15 years of age or older at the time the child is alleged to
                 have committed the offense, if the offense is a felony of the
                 second or third degree or a state jail felony, and no
                 adjudication hearing has been conducted concerning that
                 offense; and
      (3) after a full investigation and a hearing, the juvenile court determines
      that there is probable cause to believe that the child before the court
      committed the offense alleged and that because of the seriousness of
      the offense alleged or the background of the child the welfare of the
      community requires criminal proceedings.
FAM. § 54.02(a).
      “The State has the burden to persuade the juvenile court by a preponderance
of the evidence that the welfare of the community requires [the] transfer of
jurisdiction for [the child’s] criminal proceedings, either because of the seriousness
of the offense alleged or the background of the child or both.” Bell, 649 S.W.3d
at 886.   In deciding whether the preponderance of the evidence supports
Section 54.02(a)’s third requirement, the juvenile court shall consider the following
non-exhaustive factors:
      (1) whether the alleged offense was against person or property, with greater
      weight in favor of transfer given to offenses against the person;
      (2) the sophistication and maturity of the child;
      (3) the record and previous history of the child; and
      (4) the prospects of adequate protection of the public and the likelihood of the
      rehabilitation of the child by use of procedures, services, and facilities
      currently available to the juvenile court.


                                              3
FAM. § 54.02(f). These factors are designed to facilitate the juvenile court’s
balancing of the potential danger the juvenile offender poses to the public with the
juvenile’s amenability to treatment. Bell, 649 S.W.3d at 886. Any combination of
these factors may suffice to support a waiver of jurisdiction and transfer. In re X.S.,
659 S.W.3d 477, 484 (Tex. App.—Texarkana 2022, no pet.).
       We utilize a two-part test in reviewing a juvenile court’s decision to waive its
exclusive original jurisdiction and transfer the case. First, we review the juvenile
court’s specific findings of fact under the traditional evidentiary sufficiency review
standard. Bell, 649 S.W.3d at 887; In re W.J.G.L., No. 11-24-00020-CV, 2024 WL
3362941, at *2 (Tex. App.—Eastland July 11, 2024, no pet. h.) (mem. op.); In re
A.K., No. 02-20-00410-CV, 2021 WL 1803774, at *18 (Tex. App.—Fort Worth
May 6, 2021, pet. denied) (mem. op.) (citing In re C.M.M., 503 S.W.3d 692, 701
(Tex. App.—Houston [14th Dist.] 2016, pet. denied)). “In reviewing the legal
sufficiency of the evidence, we view the evidence in the light most favorable to the
juvenile court’s findings and disregard contrary evidence unless a reasonable fact
finder could not reject it.” Bell, 649 S.W.3d at 887. “If there is more than a scintilla
of evidence to support the findings, then the evidence is legally sufficient.” Id.
“Under a factual sufficiency challenge, we consider all the evidence presented to
determine if the juvenile court’s findings are against the great weight and
preponderance of the evidence so as to be clearly wrong and unjust.” X.S., 659
S.W.3d at 484 (quoting In re T.C., No. 06-21-00075-CV, 2022 WL 398419, at *3
(Tex. App.—Texarkana Feb. 10, 2022, no pet. (mem. op.)); see In re Z.T., No. 05-
21-00138-CV, 2021 WL 3645103, at *8 (Tex. App.—Dallas Aug. 17, 2021, pet.
denied) (mem. op.) (“[W]e may review the entire record to determine whether the
facts elicited sufficiently support the juvenile court’s stated reason or reasons for the
transfer.”).

                                               4
      Second, we review the juvenile court’s waiver decision for an abuse of
discretion. Bell, 649 S.W.3d at 887 (citing In re C.C.C., No. 13-21-00371-CV, 2022
WL 710143, at *8 (Tex. App.—Corpus Christi–Edinburg Mar. 10, 2022, no pet.)
(mem. op.)). “A juvenile court abuses its discretion when its transfer decision is
essentially arbitrary, given the evidence upon which it was based.” Id. (citing In re
Z.M., No. 02-21-00213-CV, 2021 WL 4898851, at *2 (Tex. App.—Fort Worth
Oct. 21, 2021, no pet.) (mem. op.)). “By contrast, a waiver decision representing ‘a
reasonably principled application of the legislative criteria’ generally will pass
muster under the abuse-of-discretion standard of review.” Id. (quoting Z.M., 2021
WL 4898851, at *2).
                        II. Factual and Procedural History
      The State alleges that Appellant committed a felony offense on or about
December 28, 2022, and that he was sixteen when the offense was committed. See
FAM. § 54.02(a)(2). Because of Appellant’s age when the offense was allegedly
committed, the underlying proceeding was filed in juvenile court. While this case
was pending in the juvenile court, Appellant was in the custody of the Texas Juvenile
Justice Department (TJJD) for parole violations, which included his possession of a
weapon in El Paso following the commission of the underlying alleged offense. On
March 2, 2023, the State filed a petition for discretionary transfer to a criminal
district court. On February 20, 2024, the State filed its first amended petition for
discretionary transfer, and the juvenile court subsequently conducted a transfer
hearing on March 6, 2024. Appellant was seventeen at the time the juvenile court
conducted the transfer hearing.
      At the transfer hearing, Odessa Police Department (OPD) Detective Lauren
Gonzales testified that OPD officers responded to a welfare check for Maurice
Rogers at his residence on December 28, 2022. Upon their arrival, OPD officers
discovered Rogers’s body in a bedroom with a single gunshot wound to the left side
                                             5
of his neck; Detective Gonzales stated that she also observed bullet holes in the front
of Rogers’s residence. Based on her observations of the crime scene, Detective
Gonzales concluded that Rogers was shot in his living room before he moved to a
bedroom and collapsed. A medical professional at the Ector County morgue
examined Rogers’s body and confirmed that the cause of Rogers’s death was a
gunshot wound to his neck.
      During their investigation, OPD officers recovered shell casings from the
crime scene, which indicated that two different 9mm pistols were discharged during
the shooting; however, Detective Gonzales stated that law enforcement did not
recover the firearms that were used in the shooting. Detective Gonzales obtained
two surveillance camera videos which depicted two individuals discharging firearms
in the direction of Rogers’s residence at approximately 10:00 p.m. the night before
Rogers’s body was found. Detective Gonzales testified that, at some point during
their investigation, law enforcement identified Harvey Gutierrez, Appellant’s adult
codefendant, as the owner of the vehicle as shown in the second video that they
retrieved. After speaking to Gutierrez, Detective Gonzales testified that Gutierrez
told her that Appellant had discharged a firearm at Rogers’s residence and that
Appellant was involved in the resulting offense. Detective Gonzales also spoke to
other witnesses who informed her about Appellant’s involvement in the offense, and
she stated that these witnesses’ statements were further corroborated by other
evidence recovered during their investigation.
      Based on the evidence and information that Detective Gonzales accumulated
in her investigation, she believed that probable cause existed to show that Appellant
was involved in Rogers’s killing. Detective Gonzales obtained a warrant for
Appellant’s arrest, and on December 30, 2022, law enforcement officers
apprehended and arrested Appellant, along with another adult codefendant, in
El Paso, Texas. Appellant was initially detained in the El Paso County Juvenile
                                              6
Detention Center and thereafter transported to the Ector County Juvenile Detention
Center on January 5, 2023.
      Prior to the transfer hearing, the Ector County Juvenile Probation Department
(the Department) prepared a Diagnostic Study, Social Evaluation, and Investigation
report for the juvenile court, which was admitted at the hearing. At the hearing,
Maria Sosa, the deputy director for the Department, discussed the Department’s
findings as stated in the report.
      Regarding Appellant’s criminal history, Sosa testified that Appellant first
became involved with the Department when Appellant received a supervisory
caution for a criminal mischief charge when he was twelve. Later, in 2018,
Appellant was referred to the Department for the misdemeanor offense of possession
of marihuana, and he was assigned voluntary probation. Within six months of this
possession charge, in May 2019, Appellant escaped from custody.
      In August 2019, Appellant was referred to the Department due to multiple
offenses that occurred on the same day: two aggravated robberies, evading arrest and
detention with a motor vehicle, unauthorized use of a motor vehicle, and evading
arrest or detention on foot. As a result of the August 2019 offenses, Appellant was
placed in a “long-term program” with the Department. Due to COVID-19, Appellant
was released early from this placement, placed on “parole supervision,” and returned
to the community; shortly thereafter, in June 2020, Appellant violated his parole
because of “violations which involved weapons.” As a consequence, Appellant’s
probation was revoked, and he was committed to TJJD for the first time; he was later
released on parole supervision. Sosa testified that, in 2022, Appellant was charged
with unlawful carrying of a weapon and possession of marihuana; as a result,
Appellant was committed to TJJD for a second time. According to Sosa, Appellant
was recently recommitted to TJJD because of violations related to the alleged
offense in this case and his possession of a firearm.
                                              7
      Sosa testified that the Department used all available resources to address
Appellant’s issues in an effort to prevent Appellant from reoffending. She testified
that, at this stage, the Department did not have rehabilitative resources available for
a juvenile who was charged with this type of offense, and that the Department had
no available means to protect the public in such cases. Sosa stated that, based on the
Positive Achievement Change Tool (PACT) full-screen summary report dated
January 12, 2023, the Department’s assessment was that Appellant had a “moderate”
risk to reoffend. Within the PACT report, it is noted that Appellant had a criminal
history score of twenty-one, which was “high,” and social history score of five,
which was “low.”
      Sosa also testified that the Department’s report included a diagnostic study of
Appellant performed by a psychologist, Dr. Perry M. Marchioni. Dr. Marchioni
opined that Appellant had a rational understanding of the seriousness of the charges
pending against him and exhibited no cognitive functioning deficiencies or
intellectual disabilities that would impair his ability to understand the courtroom
procedures or to assist his trial counsel. Dr. Marchioni’s diagnostic impressions
included a determination that Appellant suffered from adolescent onset conduct
disorder as well as a disruptive mood dysregulation disorder, and he noted that
Appellant should be considered mentally ill and would benefit from his continuous
use of mood stabilizers. Dr. Marchioni also concluded that Appellant was an
appropriate candidate for transfer to a criminal district court based on his assessment
of Appellant’s intellectual and cognitive functioning and because Appellant’s
“background and history [were] suggestive of an individual who is [a] high risk to
reoffend.”
      The juvenile court also heard testimony from Appellant’s mother and cousin.
Appellant’s cousin testified that Appellant was receiving “help” at TJJD and that it
was “working for him.” Appellant’s mother testified about Appellant’s history with
                                              8
Child Protective Services (CPS). She testified that while Appellant received some
counseling in the past through CPS, these services “[were not] enough for him to
just be able to open up [to] everything that’s going on now.” She believed that
Appellant’s behavior, such as committing the aggravated robberies, was caused by
the failure to treat Appellant’s past trauma.        Based on her interactions with
Appellant, she believed that Appellant was currently receiving services at TJJD, that
these services were helping Appellant, and that TJJD had adequate services,
personnel, and assets to provide the necessary services to Appellant on a long-term
basis.
         Following the transfer hearing, the juvenile court waived its jurisdiction and
ordered the transfer of Appellant to a criminal district court for criminal proceedings.
The juvenile court found (1) probable cause to believe that Appellant committed the
felony offense alleged by the State that occurred on December 28, 2022, by
recklessly causing the death of Rogers by discharging a firearm into his residence,
(2) that Appellant was sixteen years old at the time of the offense, and (3) that the
other statutory requirements for certification and transfer had been met. See FAM.
§ 54.02(a).
         In its transfer order, the juvenile court addressed the four factors enumerated
in Section 54.02(f), stated the specific reasons and findings in support of its decision
to waive jurisdiction, and concluded that: (1) Appellant’s alleged offense was an
offense against a person; (2) Appellant had the appropriate maturity and
sophistication for a juvenile of his age; (3) Appellant had ten prior referrals to the
Department; and (4) the public could not be protected if it retained jurisdiction due
to the serious nature of Appellant’s alleged offenses, and the juvenile court, its
officers, and the facilities available in the juvenile justice system could not
rehabilitate Appellant at this advanced stage of his criminal activities. See FAM.
§ 54.02(f).
                                               9
                                              III. Analysis
            In his sole issue, Appellant contends that the juvenile court erred when it
waived jurisdiction over Appellant and transferred this case to a criminal district
court because “the record does not support the finding that Appellant remaining in
the juvenile justice system would not adequately protect the welfare of the
community.” See FAM. § 54.02(a)(3), (f)(4). In support, Appellant asserts that “the
only [requirement] at issue in this case is that of Section 54.02(f)(4).” We therefore
construe Appellant’s complaint as a challenge to the sufficiency of the
evidence to support the juvenile court’s finding as to the factor described in
Section 54.02(f)(4)—the ability to protect the public.                        Further, we note that
Appellant does not challenge the juvenile court’s probable cause determination or
its analysis of the first three factors enumerated in Section 54.02(f) on appeal. FAM.
§ 54.02(f)(1–3). 1
        In its order waiving jurisdiction, and its oral pronouncements, the juvenile
court stated the specific reasons and findings in support of its decision and concluded
that (1) the public could not be protected if jurisdiction was retained due to the
serious nature of Appellant’s alleged offenses, and (2) the procedures, services,
and facilities currently available could not rehabilitate Appellant due to the
advanced stage of his criminal activities. Despite the juvenile court’s findings under
Section 54.02(f)(4), Appellant contends that sufficient resources exist within the
juvenile justice system to ensure the safety of the community because (1) Sosa’s
testimony regarding the services available to Appellant at TJJD shows that
“[Appellant’s] time in TJJD had improved due to [him] receiving counseling and


        1
         Nevertheless, if Appellant had raised such a challenge on appeal, we would conclude that legally
and factually sufficient evidence supports the juvenile court’s finding that probable cause exists to believe
that Appellant committed the alleged offense against Rogers. See FAM. § 54.02(a)(3); see Matter of
C.M.M., 503 S.W.3d 692, 703 (Tex. App.—Houston [14th Dist.] 2016, pet. denied).

                                                         10
other services;” and (2) the testimony of Appellant’s mother and cousin shows that
Appellant “was making significant progress in addressing [his] past trauma in order
to move forward while [he was] placed at TJJD.”2 In response, the State argues that
sufficient evidence was presented to support the juvenile court’s waiver of
jurisdiction and transfer decision. Based on our review of the record, we conclude
that sufficient evidence supports the juvenile court’s Section 54.02(f)(4) findings,
and that the juvenile court did not abuse its discretion when it waived its jurisdiction
over Appellant and transferred the cause to a criminal district court.
        Here, the evidence shows that the waiver and transfer were necessary to
protect the public from Appellant and that previous attempts to rehabilitate him
through the juvenile justice system had failed. See In re A.F., No. 11-20-00199-CV,
2021 WL 687294, at *5 (Tex. App.—Eastland Feb. 23, 2021, no pet.) (mem. op.).
Appellant was charged with a serious, violent, felony offense and he committed this
offense while on parole supervision for a previous offense that also occurred in 2022.
See Bell, 649 S.W.3d at 897 (“[T]he juvenile court may consider the serious nature
of the offense committed by the child . . . in determining whether the protection of
the public and the likelihood that the child can be rehabilitated weigh in favor of
transfer.”). This is undisputed.
        The record also shows that Appellant’s criminal behavior continued to
escalate since his first referral to the Department in 2018. At the transfer hearing,
the juvenile court found that Appellant had been referred to the Department on ten
occasions, seven of which occurred after 2019. Sosa testified that since Appellant
was charged with aggravated robbery in 2019, he has increasingly used and

        2
         Appellant also contends that Sosa’s testimony regarding her knowledge of the TJJD programs
available to Appellant and her knowledge of Appellant’s progress in these programs was “very limited.”
While Appellant does provide a record cite in his brief, Appellant does not cite to any authority in support
of his contention, nor does he articulate how Sosa’s “limited” knowledge affects the juvenile court’s
determination under Section 54.02(f)(4) or how this fact relates to his argument that the juvenile court
abused its discretion when it waived jurisdiction over Appellant.
                                                         11
possessed firearms. We conclude that Appellant’s escalating criminal behavior, as
well as his frequent possession and use of firearms, which includes his most recent
violent felony offenses involving a firearm, support the juvenile court’s
determination that the juvenile justice system could not adequately protect the
public. See Matter of G.B., 524 S.W.3d 906, 920 (Tex. App.—Fort Worth 2017, no
pet.) (holding that the continued escalation of a juvenile’s criminal behavior
supported the juvenile court’s finding that the public could not be adequately
protected). As such, this factor weighs in favor of transfer.
      Appellant argues that the testimony of his mother, cousin, and Sosa indicates
that Appellant was addressing some of his past “trauma” through services provided
by TJJD and that sufficient resources exist within the juvenile justice system to
ensure the safety of the community. However, and despite this testimony, other
evidence in the record shows that there was minimal likelihood that the public would
be adequately protected or that Appellant would be rehabilitated “by [the] use of
procedures, services, and facilities currently available to the juvenile court.” See
FAM. § 54.02(f)(4).
      At the transfer hearing, Sosa testified that the Department used all available
resources to address Appellant’s issues and to prevent Appellant from reoffending.
Despite the Department’s efforts, Sosa testified that Appellant’s behavior had not
improved since he was first committed to TJJD in 2020, and that Appellant
continued to be involved in criminal activities and use firearms. As a result of his
escalating behavior, Appellant was thrice committed to TJJD. When Sosa was
questioned by counsel for the State concerning Appellant’s behavior while at TJJD,
Sosa stated that she knew that Appellant had been “extended a couple of times due
to his behavior.” While Sosa testified that she did not know the “details” of these
extensions, she stated that she understood that extensions are usually a result of a
juvenile’s “negative behaviors.” The PACT report—which states that Appellant had
                                             12
been involved in several fights while he was committed at TJJD—corroborates her
testimony. The juvenile court was permitted to consider this evidence in its transfer
determination. See In re T.B., No. 14-23-00346-CV, 2023 WL 6632982, at * 6–7
(Tex. App.—Houston [14th Dist.] Oct. 12, 2023, no pet.) (mem. op.).
      The Department’s prior attempts at rehabilitative measures and the violent
nature of Appellant’s criminal behavior support the juvenile court’s finding that the
juvenile justice system could not rehabilitate Appellant due to the advanced
stage of his criminal activities. See In re K.J., 493 S.W.3d 140, 154 (Tex. App.—
Houston [1st Dist.] 2016, no pet.) (holding that a juvenile’s increasingly violent
nature both inside and outside TJJD is a consideration within the fourth factor of
Section 54.02(f)). As such, this factor weighs in favor of transfer.
      While Sosa testified that Appellant’s risk of reoffending as stated in the PACT
report had decreased from “high” to “moderate” while Appellant was in TJJD
custody, Sosa stated that this decrease was because Appellant was confined in a
secure facility—not, as Appellant contends, because Appellant was receiving
counseling and other services. The PACT report states that Appellant had a criminal
history score of twenty-one, which is considered “high,” and that his overall risk to
reoffend was “moderate.” According to Dr. Marchioni, he believed that Appellant’s
“background and history was suggestive of an individual who is a high risk to
reoffend.” Sosa also testified that (1) the Department does not have an adequate
program for the alleged offense, (2) the Department did not have the means available
to rehabilitate a juvenile charged with such an offense, and (3) the Department had
no means to protect the public in cases where a juvenile is charged with such an
offense. Moreover, in the Department’s report, Sosa recommended that the juvenile
court waive its jurisdiction and transfer the case to a criminal district court due to
“the seriousness of the alleged offense against a person, the prospects of adequate

                                             13
protection of the public and the likelihood of rehabilitation of the child by use of
procedures, services, and facilities currently available to the juvenile court.”
      The juvenile court, as the sole judge of witness credibility and the weight to
be afforded each witness’s testimony, was free to believe—and to determine the
value of—Sosa’s testimony, Dr. Marchioni’s diagnostic study and opinions, and the
Department’s report, which indicate that Appellant is likely to reoffend and that he
is a danger to the public.       See Matter of T.S., No. 02-20-00353-CV, 2021
WL 733305, at *8 (Tex. App.—Fort Worth Feb. 25, 2021, no pet.) (mem. op.)
(recognizing that, “as the factfinder, the juvenile court’s role was to evaluate the
witnesses, judge their credibility, determine who to believe or disbelieve, and weigh
the evidence and any inconsistencies”). Given the evidence presented, the juvenile
court could have rationally concluded that the services available to it were
inadequate to protect the public.
      Furthermore, Appellant was seventeen at the time of the transfer hearing,
which left him only a short period—less than two years—of access to the
juvenile justice system’s available resources for rehabilitative efforts. See In re Z.T.,
No. 05-21-00138-CV, 2021 WL 3645103, at *13 (Tex. App.—Dallas Aug. 17, 2021,
pet. denied) (mem. op.) (the age of the child at the time of the transfer hearing is
particularly relevant to the fourth factor). As such, the juvenile court could have
reasonably concluded that the limited amount of time that Appellant had available
to participate in programs would be inadequate to protect the public and rehabilitate
him. See T.B., 2023 WL 6632982, at *7 (citing Faisst v. State, 105 S.W.3d 8, 12–
15 (Tex. App.—Tyler 2003, no pet.)).
      Applying the traditional evidentiary sufficiency standards of review
previously set forth, we hold that the juvenile court’s findings under
Section 54.02(f)(4) are supported by legally and factually sufficient evidence.
Moreover, we cannot say that the juvenile court acted arbitrarily or without reference
                                              14
to guiding rules or principles when it waived its jurisdiction and transferred
Appellant to a criminal district court for adult criminal proceedings. See X.S., 659
S.W.3d at 484 (holding that the factors in Section 54.02(f) are nonexclusive and that
any combination of these factors may suffice to support a waiver of jurisdiction and
transfer). The juvenile court’s decision to waive jurisdiction and certify Appellant
as an adult was rationally based on the seriousness of the offense alleged, in addition
to Appellant’s background, sophistication, maturity, and the lack of resources
available to him through the juvenile justice system. Therefore, we conclude that
the juvenile court did not abuse its discretion when it waived its jurisdiction and
transferred Appellant’s case to a criminal district court.
      We overrule Appellant’s sole issue on appeal.
                                   IV. This Court’s Ruling
      We affirm the order of the juvenile court.



                                               W. STACY TROTTER
                                               JUSTICE


August 8, 2024
Panel consists of: Bailey, C.J.,
Trotter, J., and Williams, J.




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